                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                   DOCKET NO. 1:06CR250

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                 FINAL ORDER
               v.                               )                OF FORFEITURE
                                                )
(5) ARSENIO FLORES                              )
(2) ERCULANO CASTRO-CAZAREZ                     )
                                                )
                      Defendants.               )
                                                )
                                                )

       THIS MATTER is before the Court on the Government’s motion for entry of a final

order of forfeiture. No objections or responses have been received from the Defendants.

       On February 15, 2007, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon Defendant Arsenio Flores’ plea of

guilty to Count One of the indictment charging him with conspiracy to possess with intent to

distribute a quantity of cocaine and methamphetamine in violation of 21 U.S.C. § 846 and

Erculano Castro-Cazarez’ pleas of guilty to Count Two of the indictment charging him with the

use of a communication facility during the commission of the acts charged in Count One (drug

conspiracy) in violation of 21 U.S.C. § 843(b), and Count Three of the indictment charging him

with the intent to evade a currency reporting requirement by knowingly concealing an amount of

United States Currency and attempting to transport the currency to a place outside the United

States in violation of 31 U.S.C. § 5332.



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       On April 11, 2007, the United States published in the Hendersonville Times, a newspaper

of general circulation, notice of this forfeiture and of the intent of the Government to dispose of

the forfeited property in accordance with law, and further notifying all third parties of their right

to petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. It appears from the record that no such claims have been filed.

       IT IS THEREFORE ORDERED that the Government’s motion for entry of a final

order of forfeiture is ALLOWED.

       IT IS FURTHER ORDERED that, in accordance with Rule 32.2(c)(2), the Preliminary

Order of Forfeiture is confirmed as final. All right, title, and interest in the following property,

whether real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law:


       – $8,181 in United States currency seized on November 9, 2004,

       – a 2006 Suzuki GSXR-1000 motorcycle VIN JSTGT76AX621207174,

       – $204,081 in United States currency seized on September 15, 2006.


                                                  Signed: January 4, 2008




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